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AO 245B (Rev. 09/19) Judgment in a Criminal Case

 

 

Sheet |
UNITED STATES DISTRICT COURT
Western District of Arkansas
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Case Number: — 5:19CR50110-001
WAYNE KING USM Number: — 15640-010
) Drew D. Ledbetter
) Defendant's Attorney(s)

THE DEFENDANT:
>] pleaded guilty to count(s) One (1) of the Indictment on April 21, 2020.

 

[_] pleaded nolo contendere to count(s)

 

which was accepted by the court.

L] was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 2422(b) Attempted Enticement of a Minor to Engage in Sexual 09/25/2019 1
Activity
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s)

 

L) Count(s) OJ is (CO are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

October 14,4020

Date of Impgsitio! udgment

  

 

 

 

Honorable Timothy L. Brooks, United States District Judge

 

Name and Title of Judge
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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 7
DEFENDANT: WAYNE KING
CASE NUMBER: 5:19CR50110-001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of: one hundred twenty (120) months.

{] The court makes the following recommendations to the Bureau of Prisons:
1. That the defendant’s medical and mental health be closely evaluated by the Bureau of Prisons’ designation unit
in Grand Prairie, Texas, and that they consider placing the defendant at their facility in Springfield, Missouri, to
the extent that the defendant meets the criteria for placement at that facility.

2. The Court further requests that the Bureau of Prisons designate the defendant to a facility nearest Northwest
Arkansas that has adequate facilities to care for the defendant's physical and mental needs. The Court requests
that the defendant’s medical records be carefully scoured not only for placement purposes, but to assure that the
formulary at the facilities will allow for an uninterrupted supply of medications that the defendant relies on for
his physical and mental health.

EJ The defendant is remanded to the custody of the United States Marshal.
(0 The defendant shall surrender to the United States Marshal for this district:

CL) at Oam OO pm. on
C$ as notified by the United States Marshal.

 

Ls The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
CO before 2 p.m. on
LO as notified by the United States Marshal.

 

C1 §$as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release
Judgment—Page 3 of 7
DEFENDANT: WAYNE KING
CASE NUMBER: — 5:19CR50110-001

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: ten (10) years.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

we

&] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)

4. (1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. LJ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (©) You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Sheet 3A — Supervised Release
Judgment—Page 4 of 7

DEFENDANT: WAYNE KING
CASE NUMBER: 5:19CR50110-001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1,

11.

12.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
within 72 hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that

was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
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Sheet 3D — Supervised Release

 

Judgment—Page 5 of 7

DEFENDANT: WAYNE KING
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SPECIAL CONDITIONS OF SUPERVISION

‘If deemed necessary, the defendant shall submit to any means utilized by the U.S. Probation Office to track his
whereabouts or location at any time.

The defendant shall have no unsupervised contact with minors.

The defendant shall submit his person, residence, place of employment, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects to a search conducted by the U.S. Probation Office at a
reasonable time and in a reasonable manner based upon reasonable suspicion that a violation of any condition of
supervised release might thereby be disclosed.

Except for purposes of employment (when the defendant is working on his employer’s premises using his employer’s
computers and devices), the defendant shall not possess, use, or have access to a computer or any other electronic
device that has Internet or photograph storage capabilities without prior advance notice and approval of the U.S.
Probation Office. Reasonable requests by the defendant for such approval should not be denied, provided that the
defendant allows the U.S. Probation Office to install Internet-monitoring software, the defendant pays for the
software, and the defendant submits to random searches of his computers, electronic devices, and peripherals.

The defendant shall participate in a sex offense-specific treatment program. The defendant shall pay for the costs of
the program if financially able.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment —— Page __ 6 of 7
DEFENDANT: WAYNE KING

CASE NUMBER: 5:19CR50110-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS § 100.00 $ -0- $ 25,000.00 $ -0- §$ 5,000.00
[1] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ $

 

 

CO Restitution amount ordered pursuant to plea agreement $

(CO The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[CO The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(the interest requirement is waived forthe [J fine (1 restitution.

C1 the interest requirement forthe J fine £1 _ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pomography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments
Judgment — Page 7 of 7

 

DEFENDANT: WAYNE KING
CASE NUMBER: — 5:19CR50110-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

J Lump sum payment of $ _ 30,100.00 due immediately, balance due

 

EX] not later than October 29, 2020 ,or
OO inaccordancewih O Cc (7 D, OF Evor OF below; or

O

Payment to begin immediately (may be combined with [C, OOD,or (JF below); or

O

Payment in equal (e.z., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.z., 30 or 60 days) after the date of this judgment; or

(1 Payment in equal (e.g. weekly, monthly, quarierly) installments of $ over a period of
(e.z., months or years), to commence (e.z., 30 or 60 days) after release from imprisonment to a
term of supervision; or

(0 Payment during the term of supervised release will commence within (e.z, 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

C1 $ Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O QO

Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
